Case 2:19-cv-00468-VAP-SS Document 18 Filed 03/15/19 Page 1 of 3 Page ID #:72
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                     UNITED STATES DISTRICT COURT
  9         CENTRAL DISTRICT OF CALIFORNIA − EASTERN DIVISION

  10 THERESA PACHECO                            Case No. 2:19−cv−00468−VAP−SS
  11                Plaintiff(s),                        ORDER SETTING
                                                     SCHEDULING CONFERENCE:
  12        v.
                                                Date:     May 20, 2019
  13 HUNT AND HENRIQUES, INC.                   Time:     1:30 p.m.
  14            Defendant(s).                   Location: First Street Court House
                                                          Courtroom 8A
  15                                                      350 W. 1st Street
                                                          Los Angeles, CA 90012
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         READ THIS ORDER CAREFULLY AND COMPLETE THE ATTACHED TABLE
  19     This matter is set for a scheduling conference on May 20, 2019 at 1:30 p.m.
  20   The conference will be held pursuant to Fed. R. Civ. P. 16(b). The parties are
  21   reminded of their obligations to disclose information and confer on a discovery
  22   plan not later than 21 days prior to the scheduling conference and report to the
  23
       Court not later than 14 days after they confer as required by Fed. R. Civ. P. 26
  24
       and the Local Rules of this Court. ALL LEAD TRIAL COUNSEL MUST BE
  25   PRESENT. Failure to comply may lead to the imposition of sanctions. Counsel
  26   are further directed to complete the table attached hereto as Exhibit A as part
  27   of counsel's joint report under Fed. R. Civ. P. 26(f). Counsel must also submit
  28   form ADR 1, located on the Court's website at www.cacd.uscourts.gov no

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          later than seven days before the scheduling conference date.
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           IT IS SO ORDERED.
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        DATED: March 15, 2019
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                                      Virginia A. Phillips
   6                                  Chief United States District Judge

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Case 2:19-cv-00468-VAP-SS Document 18 Filed 03/15/19 Page 3 of 3 Page ID #:74
          EXHIBIT A: SCHEDULE OF PRETRIAL AND TRIAL DATES
   CASE NAME:         THERESA PACHECO v. HUNT AND HENRIQUES, INC.
   CASE NO.:          2:19−cv−00468−VAP−SS


                                          Plaintiff(s)   Defendant(s)   Court's
                 Matter
                                           Request         Request      Order
   Trial Date (Tuesday)
   Jury Court
   Length: ___ Days

   Pretrial Conf., L.R. 16; Hearing
   on Motions in Limine
   Last day to conduct Settlement
   Conf., L.R. 16−15
   Last day for hearing
   non−discovery motions
   All Discovery Cutoff, including
   hearing all discovery motions
   Expert Disclosure
   (rebuttal)
   Expert Disclosure
   (initial)
   Last day to amend pleadings or
   add parties
   Last day for filing motion for
   class certification (if applicable)
   Hearing on motion for class
   certification (if applicable)


   LOCAL RULE 16−15 Settlement Choice:

             U.S. Magistrate Judge (#1)
             Attorney Settlement Officer Panel (#2)

             Outside ADR (#3)




 Revised as of November 2016                   −3−
